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                                           5                              IN THE UNITED STATES DISTRICT COURT
                                           6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   IN RE: TFT-LCD (FLAT PANEL) ANTITRUST                   No. M 07-1827 SI
                                               LITIGATION
                                           9                                       /                   MDL. No. 1827
                                          10          This Order Relates to:                           ORDER GRANTING UNITED STATES’
                                                                                                       MOTION TO STAY DISCOVERY
For the Northern District of California




                                          11                  ALL CASES
    United States District Court




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                                          13          On September 19, 2007, the Court heard argument on the United States’ motion for a partial stay
                                          14   of discovery. (Docket No. 238). Although the government initially sought a complete stay on discovery
                                          15   for one year, at the hearing the government stated that it was amenable to a partial stay similar to the
                                          16   stay ordered in In re Dynamic Random Access Memory (DRAM) Antitrust Litigation, M 02-1486 PJH.1
                                          17   At the hearing, plaintiffs also stated that they were agreeable to the DRAM stay. The main point of
                                          18   disagreement between the government and plaintiffs relates to the production of documents provided
                                          19   to the grand jury; such discovery was permitted based upon the stipulation of the parties and the
                                          20   government in the DRAM litigation.
                                          21          The government contends that the criminal investigation into possible antitrust violations in the
                                          22   LCD industry warrants a stay of document discovery, and that the circumstances of the LCD
                                          23   investigation differ from those in the DRAM proceedings. At the hearing, the Court requested a
                                          24   supplemental showing from the government regarding the specific differences between this proceeding
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                                                         Defendants filed a response stating their view that a complete stay was appropriate. At the
                                          26   hearing, defendants did not oppose the partial stay proposed by the government, and stated only that
                                               they believed any discovery should not commence until after the filing of consolidated amended
                                          27   complaints, or after the resolution of any motions to dismiss. The Court finds that it is appropriate for
                                               the discovery permitted by this order to commence after the filing of the consolidated amended
                                          28   complaints.
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                                           1   and DRAM. On September 21, 2007, the government filed an under seal Supplemental Declaration of
                                           2   Niall Lynch. After review of that declaration, and consideration of the factors set forth in Federal
                                           3   Savings and Loan Insurance Corporation v. Molinaro, 889 F.2d 899, 903 (9th Cir. 1989), the Court
                                           4   finds that a temporary stay of document discovery is warranted. The government has sufficiently
                                           5   demonstrated that production of documents produced to the grand jury would reveal the nature, scope
                                           6   and direction of the ongoing criminal investigation, as well as the identities of others who may be
                                           7   providing evidence to the grand jury or the government, and the identities of potential witnesses and
                                           8   targets.2 The Court also finds that plaintiffs’ interests will not be substantially affected by a temporary
                                           9   stay on document discovery. Under the pretrial schedule set forth in Pretrial Order No. 5, the parties
                                          10   will be litigating anticipated motions to dismiss through April 2008, and the Court will review the need,
For the Northern District of California




                                          11   if any, for a further stay on document discovery at a status conference in May 2008.
    United States District Court




                                          12          Accordingly, the Court enters the following order:
                                          13          1.      Until further order of the Court, and except as provided herein, no discovery shall be
                                          14   conducted in these cases, including without limitation, any initial disclosure obligations under Fed. R.
                                          15   Civ. P. 26 or the local rules of this Court, document requests, interrogatories, nonparty subpoenas,
                                          16   requests to admit, or depositions. The limitations on discovery set forth in this Order may be lifted or
                                          17   modified on motion of any party at any time for good cause shown. The Court shall conduct a
                                          18   Discovery Status Conference on May 21, 2008 at 2:00 p.m. to address the course of discovery and the
                                          19   continuing need, if any, for the limitations on discovery set forth in this Order.
                                          20          2.      Within 30 days of entry of a Protective Order, and after the filing of consolidated
                                          21   amended complaints, each plaintiff shall produce (a) all documents referred to in the plaintiff’s
                                          22   complaint, and (b) for each LCD product purchased during the class period as defined in the respective
                                          23   consolidated amended complaints, documents sufficient to identify the seller, the particular product or
                                          24   part purchased, the quantities purchased, and the prices paid by plaintiffs.
                                          25          3.      Plaintiffs and defendants shall produce the following information pursuant to formal
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                                                        The Court recognizes that plaintiffs have not been able to review the government’s under seal
                                          27   declarations. The Court finds that although such under seal filings are not permitted in the normal
                                               course, here the under seal filings were necessary due to the unusual circumstances of the parallel grand
                                          28   jury proceedings and the nature of the documents produced to the grand jury.

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                                           1   discovery requests: (a) monthly, quarterly and yearly statistical data concerning aggregate sales or
                                           2   purchases of LCD products by the respective plaintiff or defendant within the class period(s); (b)
                                           3   identification of the types of products purchased or sold by the respective plaintiff or defendant during
                                           4   such time period; and (c) identification of sales, marketing or distribution channels used by the
                                           5   respective plaintiff or defendant during the time period. To the extent that interrogatories are used to
                                           6   request this information, the interrogatories may not call for narrative responses, and it shall be
                                           7   sufficient for the responding party to refer the requesting party to documents provided. However,
                                           8   interrogatories requesting the information listed in subsection (c) above may require the responding
                                           9   party to identify any channels it used during the relevant time period. With respect to interrogatories
                                          10   directed to any plaintiff, the information sought in these interrogatories is not intended to be any
For the Northern District of California




                                          11   different from the information mentioned in the preceding paragraph.
    United States District Court




                                          12          4.      Plaintiffs and defendants shall be permitted to serve interrogatories seeking the identity
                                          13   of persons in positions of management or control of their respective LCD operations, including any
                                          14   directors, officers, managing agents, and employees as well as interrogatories regarding the storage,
                                          15   location, retention, destruction or identity of corporate records. The interrogatories may not seek
                                          16   narrative answers, but may ask for the names, positions, dates of employment/tenure, and addresses for
                                          17   each during the class period. In lieu of providing answers, a defendant may produce corporate
                                          18   organization charts, policy manuals, procedures or other documents which contain responsive
                                          19   information for the relevant time period.
                                          20          5.      No depositions may be taken, except that depositions may be taken of defendants’
                                          21   customers or suppliers, or their employees, provided in any case that the deponent is not a former
                                          22   employee of any defendant. No questions may be asked about the grand jury proceedings or the
                                          23   witness’ testimony, if any, before the grand jury or communications with the United States relating to
                                          24   the grand jury proceedings. If any such question is asked, counsel may direct the witness not to answer.
                                          25          6.      No deposition may be taken on less than three weeks notice absent agreement of all
                                          26   parties and the United States, or as the Court may order for good cause shown. All discovery requests
                                          27   and notices of deposition shall be served upon the United States at the same time as served on any party.
                                          28   Absent further order of the Court for good cause shown, no responses to any interrogatories, nor

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                                           1   transcripts of depositions, shall be provided to any non-party (except the United States as set forth
                                           2   below); nor shall any party provide to any non-party (except (a) personnel working on this case on
                                           3   behalf of a party, or (b) the United States as set forth below), any information concerning the contents
                                           4   of any interrogatory response or deposition. For purposes of ensuring that the terms of this Order are
                                           5   enforced, the United States will be permitted to review (but not copy) all discovery produced by any
                                           6   party, including deposition transcripts and responses to interrogatories and requests for admissions.
                                           7          7.      To the extent that any defendant denies in its response to the consolidated amended
                                           8   complaints that the Court lacks personal jurisdiction over that defendant, plaintiffs shall be allowed to
                                           9   take discovery relating to the issue of jurisdiction over that defendant.
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For the Northern District of California




                                          11          IT IS SO ORDERED.
    United States District Court




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                                          13   Dated: September 25, 2007
                                                                                                                 SUSAN ILLSTON
                                          14                                                                     United States District Judge
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